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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


THOMAS M. BEITZ,

       Petitioner,

vs.                                             Case No. 4:05cv87-RH/WCS

JAMES V. CROSBY,

     Respondent.
_________________________________/

        REPORT AND RECOMMENDATION TO TRANSFER § 2254 PETITION

       Petitioner filed a petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254

and supporting memorandum. Docs. 1 and 2. Review of the petition was deferred

pending submission of either the $5.00 filing fee or an application to proceed in forma

pauperis. Doc. 4. A motion for extension of time was granted, and the fee was

received on May 2, 2005. Docs. 6 and 8.

       Petitioner submitted a notice of inquiry dated April 27, 2005. Doc. 7. He had not

yet received the order granting additional time, which was docketed on April 14, 2005.

Doc. 7. A review of the docket reveals that Petitioner's address has not changed and

the order was not returned undelivered, but another copy of the order will be furnished

by the clerk.
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        On review of the § 2254 petition, Petitioner is incarcerated at Jefferson

Correctional Institution and challenges his conviction out of the Eleventh Judicial Circuit

in Dade County, Florida. Jurisdiction is appropriate in this district and the Southern

District, as the districts of confinement and conviction, respectively. 28 U.S.C. §

2241(d). The district of conviction is the most convenient and appropriate venue, and

the petition should be transferred to the Southern District under § 2241(d). See also,

Parker v. Singletary, 974 F.2d 1562, 1582 and nn. 114 and 118 (11th Cir. 1992) (finding

transfer "in furtherance of justice" under § 2241(d), citations omitted); Eagle v. Linahan,

279 F.3d 926, 933, n. 9 (11th Cir. 2001) (noting the practice of district courts in Georgia

to transfer petitions to the district of conviction under § 2241(d)).

        It is therefore respectfully RECOMMENDED that this case be TRANSFERRED to

the United States District Court for the Southern District of Florida for all further

proceedings. The clerk shall forward another copy of doc. 6 to Petitioner with the copy

of this report and recommendation.

        IN CHAMBERS at Tallahassee, Florida, on May 16, 2005.




                                           s/    William C. Sherrill, Jr.
                                           WILLIAM C. SHERRILL, JR.
                                           UNITED STATES MAGISTRATE JUDGE


                                 NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party's objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.

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